                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION



IN RE:                                               )
BFW LIQUIDATION, LLC,                                )
                                                         Chapter 11
                                                     )
                                                         Case No. 09-00634-BGC-11
                      Debtor.                        )
                                                     )


 DEBTOR'S FIRST OMNIBUS OBJECTION TO PROOFS OF CLAIM REQUESTING
    AN ORDER DISALLOWING AND EXPUNGING DUPLICATIVE CLAIMS

       BFW Liquidation, LLC f/k/a Bruno's Supermarkets, LLC ("Bruno's" or the "Debtor"), as

debtor and debtor in possession, pursuant to Section 502(b) of the title 11 of the United States

Code (the "Bankruptcy Code") and Rules 3003 and 3007 of the Federal Rules of Bankruptcy

Procedure (the "Bankruptcy Rules"), as amended, hereby files the Debtor's First Omnibus

Objection to Proofs of Claim Requesting an Order Disallowing and Expunging Duplicative

Claims (the "First Omnibus Objection") to those proofs of claim described below (the "Claims")

and requests entry of an Order disallowing in full and expunging as applicable each of the

Claims set forth herein. Claimants receiving this First Omnibus Objection should search for

their name and their claim on Exhibit A attached hereto and act accordingly. In further

support of the First Omnibus Objection, the Debtor respectfully represents as follows:


                                           JURISDICTION


       1.      This Court has jurisdiction over the First Omnibus Objection pursuant to 28

U.S.C. § 334, and the subject matter of the First Omnibus Objection is a core proceeding under

28 U.S.C. § 157(b). Venue of these cases and the First Omnibus Objection are proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief sought




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herein are Section 502(b) of the Bankruptcy Code and Rules 3003 and 3007 of the Bankruptcy

Rules.


                                        BACKGROUND


         2.    On February 5, 2009 (the "Petition Date"), the Debtor filed a voluntary petition

for relief under Chapter 11 of the Bankruptcy Code with the Clerk of this Court. The Debtor

continues to operate its business and manage its assets as debtor in possession pursuant to

Sections 1107(a) and 1108 of the Bankruptcy Code.


         3.    On April 6, 2009, the Debtor filed its respective schedules of assets and liabilities

(the "Schedules") and statements of financial affairs (the "SOFAs") with the Bankruptcy Court.

On May 27, 2009, the Debtor filed amended Schedules and SOFAs. All references to the

Debtor's Schedules or SOFAs means the Schedules or SOFAs as amended from time to time.


         4.    Pursuant to the Court's Order setting the final date to file proofs of claim, all

administrative expense claims under Section 503(b)(9) of the Bankruptcy Code were to be filed

by June 5, 2009 and all prepetition proofs of claim were to be filed by June 19, 2009, except for

governmental units (as defined in the Bankruptcy Code), which have until August 14, 2009 to

file prepetition proofs of claim. As of the date of this First Omnibus Objection, over 951 Claims

totaling approximately $111,629,177.89 were filed against the Debtor. Many of these Claims

duplicated scheduled liabilities.


         5.    On June 19, 2009, the Debtor filed its Plan of Liquidation (the "Plan") and

Disclosure Statement for Debtor's Plan of Liquidation (the "Disclosure Statement"). A hearing

on the Disclosure Statement is scheduled for August 6, 2009 at 1:30 p.m.



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                                      RELIEF REQUESTED


       6.      By this First Omnibus Objection, the Debtor respectfully requests that the Court

enter an Order pursuant to Section 502 of the Bankruptcy Code and Bankruptcy Rules 3003 and

3007, as amended, disallowing in full and expunging as applicable, each of the Claims identified

and described on Exhibit A attached hereto, subject to the Debtor's reservation of rights to object

to any such Claim on Exhibit A on further grounds.


       7.      The Debtor objects to the Claims listed on Exhibit A because the holders of such

Claims filed duplicate proofs of claim. To allow parties asserting these Claims to recover on

multiple proofs of claim would result in multiple recoveries. Accordingly, the Debtor requests

that the Claims listed on Exhibit A be disallowed in full and expunged as applicable, leaving one

surviving Claim against the Debtor (such surviving Claim is also listed on Exhibit A).


       8.      The Debtor is still conducting the claims review process. Accordingly, the Debtor

reserves the right to object at a later time to Claims subject to this First Omnibus Objection or the

surviving Claims, as the case may be, on any and all other grounds. The Debtor also reserves the

right to object to any other proofs of claim filed in these cases.


                                              NOTICE


       9.      A copy of the First Omnibus Objection shall be served upon (i) all parties

identified on the Master Service List; (ii) the Bankruptcy Administrator; (iii) counsel to the

Official Committee of Creditors Holding Unsecured Claims, and (iv) each party against whose

claim the Debtor objected as listed on Exhibit A. Claimants receiving this First Omnibus

Objection should search for their name and their claim on Exhibit A. The Debtor respectfully



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represents that such notice is adequate and complies with Rule 2002 and 3007 (as amended) of

the Bankruptcy Rules.


       WHEREFORE, for the foregoing reasons, the Debtor respectfully requests that this Court

enter an Order pursuant to Section 502 of the Bankruptcy Code and Bankruptcy Rules 3003 and

3007 as amended, disallowing in full and expunging as applicable, each of the Claims identified

and described on Exhibit A attached hereto.


Date: August 6, 2009                               /s/ Derek F. Meek_________________
                                                   Derek F. Meek
                                                   BURR & FORMAN LLP
                                                   420 North 20th Street, Suite 3400
                                                   Birmingham, Alabama 35203
                                                   Telephone: (205) 450-5000
                                                   Facsimile:     (205) 458-5100
                                                   Counsel to the Debtors and Debtors in
                                                   Possession




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                                                                     Duplicate Claims



     Date         Claim                                              Claim                                        Duplicate      Surviving Claim    Reason for
     Filed         No.                            Name              Amount                   Nature         Claim To Be Expunged    Number         Disallowance


       6/25/09            897 ACME FLOORING COMPANY                          $45.00     General Unsecured           897                            Duplicate Claim


       2/27/09             44 ACME FLOORING COMPANY                          $45.00     General Unsecured                              44



       5/22/09            384 BALDWIN COUNTY ALABAMA                    $160,956.14          Priority               384                            Duplicate Claim


       4/23/09            268 BALDWIN COUNTY ALABAMA                    $160,956.14          Priority                                  268



       3/13/09            167 BIG SKY BRANDS INC                          $3,412.80     General Unsecured           167                            Duplicate Claim


       5/28/09            606 BIG SKY BRANDS, INC                         $3,412.80     General Unsecured                              606



       3/23/09            172 CITY OF HOOVER ALABAMA                    $257,895.78          Priority               172                            Duplicate Claim


       3/19/09            171 CITY OF HOOVER ALABAMA                    $257,895.78          Priority                                  171



        6/8/09            620 COCA COLA MERIDIAN                          $6,037.09       Admin Priority            620                            Duplicate Claim


        6/4/09            439 COCA COLA MERIDIAN                          $6,037.09       Admin Priority                               439



       5/29/09            575 Dolinsky, Deloris                         $175,000.00     General Unsecured           575                            Duplicate Claim


       5/29/09            486 Dolinsky, Deloris                         $175,000.00     General Unsecured                              486



       4/23/09            279 EAGLE SERVICE COMPANY LLC                  $10,296.45     General Unsecured           279                            Duplicate Claim


       4/14/09            258 EAGLE SERVICE COMPANY LLC                  $10,296.45     General Unsecured                              258



       6/18/09            815 Earthgrains Baking Co                     $484,879.98     General Unsecured           815                            Duplicate Claim


        5/1/09            332 EARTHGRAINS BAKING CO                     $484,879.98     General Unsecured                              332



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     Date         Claim                                                      Claim                                        Duplicate      Surviving Claim    Reason for
     Filed         No.                            Name                      Amount                   Nature         Claim To Be Expunged    Number         Disallowance



       3/19/09            163 EDYS GRAND ICE CREAM                               $16,452.21       Admin Priority            163                            Duplicate Claim


       3/31/09            198 EDYS GRAND ICE CREAM                               $16,452.21       Admin Priority            198                            Duplicate Claim


       4/10/08            239 Edys Grand Ice Cream Co                            $16,452.21       Admin Priority            239                            Duplicate Claim


       3/12/09            162 EDYS GRAND ICE CREAM                               $16,452.21       Admin Priority                               162



       4/10/09            238 Edy S Grand Ice Cream                              $17,351.35     General Unsecured           238                            Duplicate Claim


       4/13/09            283 EDYS GRAND ICE CREAM                               $17,351.35     General Unsecured           283                            Duplicate Claim


       3/24/09            225 EDYS GRAND ICE CREAM                               $17,351.35     General Unsecured           225                            Duplicate Claim


       3/19/09            179 EDYS GRAND ICE CREAM                               $17,351.35          Priority               179                            Duplicate Claim


       3/12/09            161 EDYS GRAND ICE CREAM                               $17,351.35          Priority                                  161



       5/27/09            410 FAYETTE COUNTY REVENUE COMM                         $2,314.96          Priority               410                            Duplicate Claim


       4/21/09            296 FAYETTE COUNTY REVENUE COMM                         $2,314.96          Priority                                  296



        6/5/09            541 Flowers Bakery of Birmingham LLC                  $101,491.80       Admin Priority            541                            Duplicate Claim


        6/5/09            448 Flowers Bakery of Birmingham LLC                  $101,491.80       Admin Priority                               448



        6/5/09            533 Flowers Bakery of New Orleans LLC                  $50,699.10       Admin Priority            533                            Duplicate Claim


        6/5/09            444 Flowers Bakery of New Orleans LLC                  $50,699.10       Admin Priority                               444



        6/5/09            520 Flowers Bakery of Opelika LLC                      $21,444.95       Admin Priority            520                            Duplicate Claim




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     Date         Claim                                                         Claim                                        Duplicate      Surviving Claim    Reason for
     Filed         No.                            Name                         Amount                   Nature         Claim To Be Expunged    Number         Disallowance


        6/5/09            446 Flowers Bakery of Opelika LLC                         $21,444.95       Admin Priority                               446



        6/5/09            519 Flowers Bakery of Thomasville LLC                     $32,280.30       Admin Priority            519                            Duplicate Claim


        6/5/09            447 Flowers Bakery of Thomasville LLC                     $32,280.30       Admin Priority                               447



        6/5/09            521 Flowers Bakery of Tuscaloosa LLC                      $46,937.99       Admin Priority            521                            Duplicate Claim


        6/5/09            445 Flowers Bakery of Tuscaloosa LLC                      $46,937.99       Admin Priority                               445



       6/18/09            794 Flowers Baking Company of Birmingham LLC             $199,049.96     General Unsecured           794                            Duplicate Claim


        6/8/09            647 Flowers Baking Company of Birmingham LLC             $199,049.96     General Unsecured                              647



        6/8/09            646 Flowers Baking Company of New Orleans                $110,721.65     General Unsecured           646                            Duplicate Claim


       6/18/09            795 Flowers Baking Company of New Orleans LLC            $110,721.65     General Unsecured                              795



       6/18/09            796 Flowers Baking Company of Opelika LLC                 $46,222.79     General Unsecured           796                            Duplicate Claim


        6/8/09            649 Flowers Baking Company of Opelika LLC                 $46,222.79     General Unsecured                              649



       6/18/09            827 Flowers Baking Company of Thomasville LLC             $65,630.92     General Unsecured           827                            Duplicate Claim


        6/8/09            650 Flowers Baking Company of Thomasville LLC             $65,630.92     General Unsecured                              650



        6/8/09            648 Flowers Baking Company of Tuscaloosa                  $98,647.62     General Unsecured           648                            Duplicate Claim


       6/18/09            826 Flowers Baking Company of Tuscaloosa LLC              $98,647.62     General Unsecured                              826




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     Date         Claim                                                      Claim                                        Duplicate      Surviving Claim    Reason for
     Filed         No.                            Name                      Amount                   Nature         Claim To Be Expunged    Number         Disallowance


       3/16/09            181 GODWIN, KIMBERLEY                                 $300,000.00          Priority               181                            Duplicate Claim


       3/16/09            180 GODWIN, KIMBERLEY                                 $300,000.00          Priority                                  180



       5/26/09            392 HIRE DYNAMICS                                      $14,189.11     General Unsecured           392                            Duplicate Claim


       4/20/09            263 Hire Dynamics LLC                                  $14,189.11     General Unsecured                              263



       6/19/09            864 Insouth Bank                                    $1,272,790.04     General Unsecured           864                            Duplicate Claim


       6/19/09            749 Insouth Bank                                    $1,272,790.04     General Unsecured           749                            Duplicate Claim


       6/18/09            768 Forestdale Supermarket Owners LLC                $1,272,790.04    General Unsecured                              768



       6/19/09            862 Insouth Bank                                    $1,283,783.01     General Unsecured           862                            Duplicate Claim


       6/19/09            735 Insouth Bank                                    $1,283,783.01     General Unsecured           735                            Duplicate Claim


       6/19/09            725 Jasper Supermarket Owners LLC                    $1,283,783.00    General Unsecured                              725



       6/19/09            863 Insouth Bank                                    $1,316,848.99     General Unsecured           863                            Duplicate Claim


       6/19/09            748 Insouth Bank                                    $1,316,848.99     General Unsecured           748                            Duplicate Claim


       6/18/09            720 Irondale Supermarket Owners LLC                  $1,316,848.99    General Unsecured                              720



        6/1/09            500 Jefferson County Alabama                          $212,540.26          Priority               500                            Duplicate Claim


        6/1/09            479 Jefferson County Alabama                          $212,540.26          Priority                                  479



        6/8/09            616 LINDSEY, MATTIE                                 UNLIQUIDATED      General Unsecured           616                            Duplicate Claim




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     Filed         No.                            Name                  Amount                   Nature         Claim To Be Expunged    Number         Disallowance


        6/3/09            422 LINDSEY, MATTIE                             UNLIQUIDATED      General Unsecured                              422



       5/22/09            505 MINGO RIVER PECAN CO                            $1,368.00     General Unsecured           505                            Duplicate Claim


       2/27/09             72 MINGO RIVER PECAN CO                            $1,368.00     General Unsecured                              72



        6/8/09            629 MOBILE AREA                                     $3,993.00     General Unsecured           629                            Duplicate Claim


        3/2/09            121 MOBILE AREA                                     $3,993.00     General Unsecured                              121



       5/26/09            578 NHIN                                           $15,001.00     General Unsecured           578                            Duplicate Claim


        5/4/09            358 NHIN                                           $15,001.00     General Unsecured                              358



       2/23/09             31 PELHAM WATER WORKS                                 $592.38    General Unsecured            31                            Duplicate Claim


       5/22/09            389 PELHAM WATER WORKS                                 $592.38    General Unsecured                              389



       6/19/09            763 PEPSI OF ATMORE                                $24,710.96     General Unsecured           763                            Duplicate Claim


       6/19/09            761 PEPSI COLA ATMORE                              $24,710.96     General Unsecured           761                            Duplicate Claim


       6/19/09            762 PEPSI COLA ATMORE                              $24,710.96     General Unsecured                              762



        6/5/09            459 PERFORMANCE REFRIGERATION INC                  $60,269.86     General Unsecured           459                            Duplicate Claim


       2/19/09             42 PERFORMANCE REFRIGERATION INC                  $60,609.86     General Unsecured                              42



       2/27/09             63 POTTER INC                                         $331.06    General Unsecured            63                            Duplicate Claim


        6/1/09            449 POTTER INC                                         $331.06    General Unsecured                              449



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       5/27/09            588 RED MOUNTAIN COFFEE                                $8,679.33     General Unsecured           588                            Duplicate Claim


        3/9/09             91 RED MOUNTAIN COFFEE                                $8,679.33     General Unsecured                              91



        3/9/09             99 SUNRISE FLOOR SYSTEMS LLC                        $176,045.75     General Unsecured            99                            Duplicate Claim


        3/2/09             77 SUNRISE FLOOR SYSTEMS LLC                        $176,045.75     General Unsecured                              77


                              T T Ray Revenue Commissioner Autauga County
       5/14/09            503 Alabama                                            $1,760.18          Priority               503                            Duplicate Claim

                              T T Ray Revenue Commissioner Autauga County
       5/22/09            379 Alabama                                            $1,760.18          Priority               379                            Duplicate Claim


       5/22/09            412 T T TOMMY RAY REV COMMISIONER                      $1,760.18          Priority               412                            Duplicate Claim


       5/22/09            378 T T Tommy Ray Rev Commission                       $1,760.18          Priority               378                            Duplicate Claim


       2/27/09             61 T T TOMMY RAY REV COMMISIONER                      $1,760.18          Priority                                  61



       3/27/09            213 THE PETTING ZOO                                   $15,027.16     General Unsecured           213                            Duplicate Claim


       3/27/09            214 The Petting Zoo Inc                               $15,027.16     General Unsecured                              214


                              UFCW LOCAL 1657 EDUCATION SAFETY &
       6/19/09            741 CULTURAL FUND                                     $35,000.00          Priority               741                            Duplicate Claim

                              UFCW LOCAL 1657 EDUCATION SAFETY &
       6/18/09            668 CULTURAL FUND                                     $35,000.00          Priority                                  668



       5/15/09            431 Vertis Inc                                       $213,487.30       Admin Priority            357                            Duplicate Claim


       5/15/09            357 Vertis Inc                                       $213,487.30       Admin Priority                               357


       5/15/09            357 Vertis Inc                                      $1,094,436.43    General Unsecured                              357




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     Date         Claim                                                   Claim                                       Duplicate      Surviving Claim    Reason for
     Filed         No.                         Name                      Amount                  Nature         Claim To Be Expunged    Number         Disallowance


                              VILLAGE ON LORNA SHOPPING CENTER LIMITED
       6/12/09            682 PARTNERSHIP C O ENGEL REALTY CO LLC           $821,946.58     General Unsecured           682                            Duplicate Claim


                              VILLAGE ON LORNA SHOPPING CENTER LIMITED
        6/4/09            425 PARTNERSHIP C O ENGEL REALTY CO LLC           $821,946.58     General Unsecured                              425




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